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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF MISSISSIPPI
                              EASTERN DIVISION


BETTIE BIDDLE                                                                        PLAINTIFF(S)

VERSUS                                               CIVIL ACTION NO: 1:10CV189-SA-JAD

NCO FINANCIAL SYSTEMS, INC.                                                    DEFENDANT(S)



                        CORRECTED RULE 16 INITIAL ORDER

    The above captioned cause is set for a TELEPHONIC CASE MANAGEMENT
CONFERENCE (CMC) on March 9, 2011 at 1:30 P.M. before:

              Magistrate Judge Jerry A. Davis
              P. O. Box 726
              Aberdeen, Mississippi 39730
              Telephone: (662) 369-2138

UNLESS OTHERWISE AGREED, IT SHALL BE THE RESPONSIBILITY OF
COUNSEL FOR THE PLAINTIFF TO SET UP THE CONFERENCE CALL AT THE
SCHEDULED TIME. THE MAGISTRATE JUDGE MAY REQUIRE COUNSEL AND
THE PARTIES TO ATTEND THE CMC.

                   FED. R. CIV. P. 26(F) ATTORNEY CONFERENCE

       No later than twenty-one days before the CMC, counsel must confer in person or
telephonically and be prepared to report to the court:

       1.     The principal factual and legal issues in dispute;

       2.     The principal evidentiary basis for claims and defenses;

       3.     The differentiated case management case track, days required
              for trial, and whether the case should be considered for Alternative
              Dispute Resolution (ADR);

       4.     Any motions whose early resolution would have significant impact on the scope
              of discovery or other aspects of the litigation;

       6.     What additional discovery is required beyond the voluntary disclosures and initial
              depositions of the parties, with designated time limitations;
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       7.      Each of the eleven discrete matters related to electronically stored information
               specified in L.U.Civ.R. 26(e)(2)(B)

       8.      Whether all parties consent to jurisdiction by a magistrate judge;

       9.      The appropriate time for a L.U.Civ.R. 16(g) settlement conference;

       10.     Both settlement prospects and the costs of going through litigation and the appeal
               process, which counsel must explore fully with each other and their respective
               clients and represent to the court that they have done

       11..    The contents of a proposed case management order. The court will determine all
               deadlines at the case management conference itself.

                      PROPOSED CASE MANAGEMENT ORDER
                     CONFIDENTIAL SETTLEMENT MEMORANDA

        Counsel must submit a proposed case management order by e-mail (NO FAXES) to the
magistrate judge no later than fourteen days prior to the case management conference. At the
same time counsel must also submit a memorandum (3-page maximum) with a brief explanation
of the case and a candid appraisal of the parties’ respective positions, including possible
settlement figures and a good faith estimate of the expense of carrying the litigation through trial
and the appellate process, if not settled. Counsel must have discussed, and will represent to the
court that they have in fact discussed, these costs with their respective clients and must be
prepared to candidly discuss them with the court. These memoranda are not to be exchanged,
will be viewed only by the court, will not become a part of the record and will be destroyed upon
the resolution of the case.

                                CASE MANAGEMENT PLAN

       At the Case Management Conference, the court and the parties will:

       1.      Identify the principal factual and legal issues in dispute;

       2.      Identify the alternative dispute resolution procedure which counsel intend to use,
               or report specifically why no such procedure would assist in the resolution of the
               case;

       3.      Indicate whether all parties consent to jurisdiction by a magistrate judge;

       4.      Review the parties’ compliance with their disclosure obligations and
               consider whether to order additional disclosures;


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       5.     Determine whether there is discoverable ESI and, if so, the means by which it will
              be obtained and produced;

       6.     Determine whether early filing of any motions might significantly affect the scope
              of discovery or other aspects of the litigation, and provide for the staged
              resolution, or bifurcation of issues for trial consistent with 42(b) F.R.Civ.P.;

       7.     Determine the plan for at least the first stage of discovery; impose limitations on
              each discovery tool, time periods and other appropriate matters;

       8.     Determine the date for a settlement conference or mediation;

       9.     Set appropriate deadlines for completion of discovery and filing motions and
              dates for the final pretrial conference and trial.


                              CASE MANAGEMENT ORDER

       A Case Management Order will be entered by the court within ten days of the
conference. Counsel must use the Case Management Order Form on the court web site at
www.msnd.uscourts.gov as Form No. 1 in the revised Uniform Local Civil Rules, effective
December 1, 2009 in their discussions and preparation for the CMC.



                                            /s/ Jerry A. Davis
                                            UNITED STATES MAGISTRATE JUDGE


Date: December 15, 2010




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